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                                    STATEMENT OF FACTS

       Your affiant, Special Agent                          , is a Special Agent with Federal Bureau
of Investigation (FBI) assigned to the Manteo Resident Agency of the Charlotte Field Office. In
my duties as a special agent, I have investigated a varitety of federal violations relating to violent
crime, drug trafficking, child sexual abuse material, public corruption, civil rights, and fraud.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a FBI Special Agent, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

                                            Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice




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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                   Identification of SANDRA LEE HODGES (“HODGES”)

       On January 9, 2021, the U.S. Capitol Police (USCP) recovered a key card belonging to the
Mandarin Oriental Hotel on the West Plaza of the U.S. Capitol Building, near the media tower,
during clean-up efforts related to the attack at the U.S. Capitol on January 6, 2021. USCP
subsequently obtained records from the Mandarin Oriental Hotel associated with the key card
pursuant to legal process. The records revealed that the keycard was linked to a reservation made
by “SANDY HODGES,” with a particular phone number ending in 5575 (the “5575 Number”) for
January 5 through January 7, 2021.

        Based on this information, USCP searched open-source databases which revealed that the
5575 Number was associated with the Verizon subscriber ‘SANDY HODGES.’ Subsequent open
source searches indicated that this individual was likely SANDRA LEE HODGES, who resided at
a Hertford, North Carolina address. USCP provided this information, as well as HODGES’ date
of birth, license information and photograph, to the FBI.

        The FBI took steps to confirm whether SANDRA LEE HODGES had in fact participated
in the January 6, 2021, attack on the Capitol.

        According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cellphone associated with the 5575
Number was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the U.S. Capitol building. Further, according to
records obtained through a search warrant served on Google, a mobile device associated with the
5575 Number (and a Gmail address associated with HODGES in open source databases) was
present at the U.S. Capitol on January 6, 2021. Google estimates device location using sources
including GPS data and information about nearby Wi-Fi access points and Bluetooth
beacons. This location data varies in its accuracy. In this case, Google location data shows that a
device associated with the 5575 Number and Gmail address was within an area consistent with the
interior of the U.S. Capitol building between 2:49 p.m. and 3:34 p.m.

                                HODGES’ Interview with the FBI

       Based on its preliminary determination that SANDRA LEE HODGES was within the
U.S. Captiol building on January 6, 2021, the FBI sought to interview her.

       On April 6, 2023, another FBI agent and I interviewed HODGES at her residence in
Hertford, North Carolina. HODGES admitted to going inside the U.S. Capitol building.


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HODGES explained she left her home in Hertford, North Carolina on January 5, 2021, and
traveled to Washington D.C. by car. HODGES stopped in Virginia Beach, Virginia to pick up a
friend she met online a few days prior. HODGES could not recall the name of her friend. Once
in Washington D.C., HODGES and her friend checked into a hotel that she paid for. HODGES
planned to attend President Trump’s speech the following morning. However, HODGES
claimed that she woke up late and when she left the hotel to walk to the speech, she encountered
a large group of people who told her the speech was over and everyone was headed to the U.S.
Capitol building to protest. HODGES stated that she became swallowed by the crowd and
walked with them to the U.S. Capitol building. Once there, HODGES claimed to have been
“sucked into the building.”

        Once inside the U.S. Capitol building, HODGES stated that she walked around briefly
before entering two separate rooms and sat down in the second room, where she saw someone
rip something off a wall. HODGES claimed that she realized that something was not right at that
point and decided to leave. HODGES stated that she got up and left with the help of police
officers who were ushering people out of the building.

       At the conclusion of the interview, I showed HODGES the following two photographs,
included below as Images 1 and 2, which are still images from a publicly available video taken
by another rioter, Anthime Gionet 1 (hereinafter “Gionet Video”). HODGES identified herself in
each photograph and explained the photographs were taken inside the two rooms she entered as
explained above.




1
  In connection with his guilty plea, Gionet admitted to filming the approximately 27-minute
long livestream. See Statement of Offense ¶ 8, ECF No. 64, United States v. Anthime Joseph
Gionet, 22-cr-132-EGS (D.D.C. July 22, 2022).


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Image 1: Photograph shown to HODGES in which HODGES identified the circled individual as
                                       herself




         Image 2: Photograph shown to HODGES in which HODGES identified the circled
                                 individual as herself



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                           HODGES’ Conduct on January 6, 2021

        I have reviewed open-source videos and photographs and closed-captioned video footage
from the U.S. Capitol Building and its grounds on January 6, 2021. Based on my interview of
HODGES described above, I have identified HODGES in those images and videos described
below. In the images and videos, HODGES is wearing a bright blue jacket, white sweater, red
hat, and glasses, consistent with her appearance in Images 1 and 2 above.

       At approximately 2:12 p.m. on January 6, 2021, HODGES joined the crowd massing in the
West Plaza of the Capitol grounds, as depicted a still image from a publicly available video
included as Image 3 below. HODGES was close to a line of barricades, defended by officers of
the Metropolitan Police Department. Law enforcement officers deployed chemical irritants into
the crowd in an attempt to disperse them. As depicted in another publicly available video,
HODGES yelled “Freedom!” towards the officers. A still image from that video is included below
as Image 4.




         Image 3: HODGES (circled) stands close to the police line in the West Plaza
                    (https://archive.org/details/3rb3LhbW8eNmWvPHi)




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                 Image 4: HODGES (circled) yells towards the officers (3:46 of
                        https://web.archive.org/web/20210318191051/
                      https://www.youtube.com/watch?v=0zyjCvDN4Ig)

       From her vantage point, HODGES was in position to see violence between rioters and law
enforcement. Specifically, HODGES was in position to see rioters wrestling over barricades and
law enforcement deploying crowd control methods against aggressive rioters. A still image from
a publicly available video depicting the same is included Image 5 below. Another publicly
available video of the same incident, a still of which is included below, is included below as Image
6 and depicts HODGES holding a phone.




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Image 5: HODGES (circled) watches rioters wrestle over barricades with police
        (https://www.youtube.com/watch?v=DHessyWYXqM&t=983s)




Image 6: HODGES stands amidst the chaos (https://www.instagram.com/p/CJy-
              5K5By8A/?utm_source=ig_web_copy_link)



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       HODGES remained in the West Plaza as the police line collapsed. Image 7 below is a still
image from another publicly available video, which depicts HODGES without glasses and now
holding her red Trump hat.




          Image 7: HODGES (circled) remains on the West Plaza after the police line collapses
 (https://ia802200.us.archive.org/5/items/oKtYmGauEiueeuL9F/oKtYmGauEiueeuL9F.mpeg4)

      At some point in the afternoon on January 6, HODGES sat on a landing adjacent to the
Northwest Scaffolding, which had been earlier overrun by rioters. See Image 8.




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     Image 8: HODGES (circled) sits on the landing adjacent to the Northwest Scaffolding
  (https://www.alamy.com/washington-dc-january-6-2021-pro-trump-protesters-seen-on-and-
                       around-capitol-building-image396852544.html)

       HODGES proceeded to the Upper West Terrace and stood near a line of police officers
attempting to restore order. A still image from a publicly available video depicting HODGES
without her hat is included below as Image 9.




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              Image 9: Hodges (circled) on the Upper West Terrace without her hat
                 (https://www.youtube.com/watch?v=70SspWNp4Bg&t=293s)

       At approximately 2:53 p.m., HODGES entered the U.S. Capitol Building through the
Senate Wing Door, which had been initially breached by rioters at approximately 2:12 p.m. Law
enforcement subsequently acted to establish a police line to stop rioters from entering the building;
however, the rioters again breached the Senate Wing Door approximately five minutes before
HODGES’ entry. See Image 10. As HODGES entered, rioters were entering and leaving the
building through the broken windows to either side of the Door, and an alarm was ringing near the
doorway. A line of officers can be seen in the lower left hand corner of Image 10. After entering
the Capitol building, HODGES can be seen moving southward (i.e., away from the camera in
Image 10) before disappearing into the crowd.




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          Image 10: HODGES (circled) enters the U.S. Capitol Building at 2:53 p.m.

        At approximately 3:07 p.m., about fifteen minutes after she entered, HODGES is seen on
the Gionet Video in the hideaway office of a United States Senator, immediately down the hall
south of the Senate Wing Door. In the Gionet Video, HODGES can be seen sitting on the couch
and unpacking the contents of her backpack, including the red hat she had been previously wearing
and can of what appears to be Coca-Cola, as depicted a still image from the Gionet video included
as Image 11 below. While in HODGES remained in that office, Gionet picked up a phone and
stated performatively, “Hello, U.S. Senate, we have a fraudulent election I would like to report.
Yeah, we need to get our boy Donald J. Trump in office . . . .” After another rioter stated, “Get
Pence on the phone!,” Gionet responded, “Yeah, get Mike Pence on the phone.”




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    Image 11: HODGES (circled) in the U.S. Senator’s Office unpacking the contents of her
               backpack (16:14 of https://ia902308.us.archive.org/18/items/
                FQGuEaD3YZoLpJ4vn/Baked Alaska inside the U.mpeg4)

       At approximately 3:13 p.m., an individual wearing clothing consistent with HODGES can
be seen on Capitol surveillance footage leaving the vicinity of the U.S. Senator’s office and
heading deeper into the Capitol (i.e., away from the Senate Wing Door). See Image 12.




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Image 12: An individual consistent with HODGES’ appearance (circled) moves deeper into the
                             Capitol at approximately 3:13 p.m.

         Also around 3:13 p.m., HODGES—now wearing her red hat and holding the Coca-Cola
can—walked into a room I know to be S-145, a conference room down the hall south of the Senate
Wing Door and near the U.S. Senator’s office. As depicted on the Gionet Video, HODGES banged
her fist on a table in S-145 as the crowd chanted, “America First.” HODGES then continued to
the window and looked out at the large crowd gathered on the steps outside the U.S. Capitol
Building. After Gionet warned others not to break anything, HODGES stated to him, “I’m not
breaking anything. This is our house.” Still images from that open source video are included
below as Images 13 and 14.




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Image 13: As the crowd chants, HODGES (circled) bangs her fist on the conference room table
                 in S-145 (22:15 of https://ia902308.us.archive.org/18/items/
                FQGuEaD3YZoLpJ4vn/Baked_Alaska_inside_the_U.mpeg4)




   Image 14: HODGES states, “I’m not breaking anything. This is our House.” (23:41 of
                      https://ia902308.us.archive.org/18/items/
              FQGuEaD3YZoLpJ4vn/Baked_Alaska_inside_the_U.mpeg4)



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         As depicted in Image 15 below from Capitol surveillance footage, at approximately 3:17
p.m., HODGES entered the Crypt, which is an area further south of the locations described in
Images 11 – 14 above. HODGES remained in the Crypt for approximately fifteen minutes. While
in the Crypt, HODGES joining the mob’s chants of “Whose House? Our House!,” as depicted in
the still image from a publicly available video included below as Image 16.




           Image 15: HODGES (circled) enters the Crypt at approximately 3:17 p.m.




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                    Image 16: HODGES (circled) joins chants in the Crypt
                     (https://archive.org/details/Pw3ZAimEP5Z4t2MGZ)

       At approximately 3:32 p.m., law enforcement officers attempting to reassert control of the
Capitol directed rioters in the Crypt, including HODGES, towards the Memorial Door exit.
Images 17 and 18 below still images from Capitol surveillance footage showing Hodges leaving
the Crypt and walking towards the Memorial Door exit.




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Image 17: HODGES (circled) leaves the Crypt as directed by officers at approximately 3:32 p.m.




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Image 18: HODGES (circled) leaves the Crypt as directed by officers at approximately 3:32 p.m.

       As directed by police, HODGES exited the Capitol through the Memorial Door at
approximately 3:33 p.m., as reflected in the still images from Capitol surveillance and open source
footage included below as Images 19 through 21. In total, HODGES spent approximately 40
minutes inside the U.S. Capitol Building.




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Image 19: HODGES (circled) leaves through the Memorial Door at approximately 3:33 p.m., as
                        depicted on Capitol surveillance footage




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Image 20: HODGES (circled) leaves through the Memorial Door at approximately 3:33 p.m., as
                        depicted on Capitol surveillance footage




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Image 21: HODGES leaves through the Memorial Door at approximately 3:33 p.m., as depicted
    on open source footage (https://www.youtube.com/watch?v=bvKrN0GWgSQ&t=61s)

       HODGES did not immediately leave restricted Capitol grounds, but remained for a time
the East steps of the Capitol, as depicted in Image 22 below, a still image from a publicly available
video.




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                Image 22: HODGES (circled) remains on the steps of the Capitol
  (https://ia904504.us.archive.org/19/items/WAgBNHcKjMzeLoZTx/stephen_horn_hd.mpeg4)

        Based on the foregoing, your affiant submits that there is probable cause to believe that
SANDRA LEE HODGES violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that HODGES violated 40
U.S.C. § 5104(e)(2)(D), and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; (G) parade, demonstrate, or picket in any of the Capitol Buildings.




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Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of January 2024.


                                                    ___________________________________
                                                    MOXILA A. UPADHYAYA
                                                    U.S. MAGISTRATE JUDGE




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